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 7                              IN THE UNITED STATES DISTRICT COURT

 8                                  EASTERN DISTRICT OF CALIFORNIA

 9

10 DANIEL E. GONZALEZ,                                    No. 2:15-cv-1997-MCE-DB-PS

11                          Plaintiff,                    STIPULATION AND PROPOSED ORDER

12 vs.

13 UNITED STATES OF AMERICA et al.,

14                          Defendants.

15

16          Pursuant to Local Rule 143, Plaintiff and the United States stipulate, and propose, that the Court

17 extend the pretrial schedule by approximately 90 days, as further set forth below. Plaintiff, who is

18 proceeding pro se, has had numerous medical and other issues that have made it difficult to conduct

19 discovery and prepare expert reports, the time for which has now past. In addition, the parties have had

20 technical difficulties in exchanging and accessing one another’s electronic documents, which has

21 compounded the problems. Despite these problems, Plaintiff has diligently attempted to resolve them

22 and to resolve the matter, but the parties have been unable to do so. For example, Plaintiff scheduled an

23 in-person meeting with opposing counsel, and secured agreement to the concept of an extension before

24 Plaintiff’s deadline ran, and Plaintiff filed a request with the Court for an extension on the day his expert

25 disclosures were due. The parties have worked out an agreed-schedule, which is set forth below.

26          Failure to grant this extension may well be fatal to Plaintiff’s case, which would be inequitable

27 considering his diligence and pro se status, and the fact that the problems described above were beyond

28 the control of either party. Thus, there appears good cause for an order extending all pretrial dates by
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 1 approximately three months, to avoid a draconian result that is independent of any fault and independent

 2 of the merits. In addition, the parties propose moving the pretrial conference and the trial date

 3 approximately four months to permit more time for the Court to review and decide any dispositive

 4 motion, and to account for the 2018 holidays implicated by the stipulation and proposed order.

 5             Plaintiff proposed this stipulation during a December 15, 2017, in-person meet and confer and

 6 the United States agreed. However, the stipulation is submitted at this time due to illness and the

 7 intervening, year-end holidays which made scheduling difficult.

 8             Therefore, the parties stipulate and propose that the pretrial schedule, adopting by this Court in

 9 June 2017 (Dkt. No. 37) an October 2017 (Dkt. No. 43), be continued as follows:

10

11                            Event                               Current Date              Proposed Date
12       Plaintiff’s Expert Disclosure                       December 22, 2017           March 22, 2018
13
         Defendant’s Expert Disclosure                       January 19, 2018            May 3, 2018
14
         Rebuttal Expert Disclosures                         February 2, 2018.           May 17, 2018
15

16       Discovery Completed                                 March 2, 2018               June 14, 2018

17       Law and Motion (except to compel discovery)         April 20, 2018              August 3, 2018
18       Plaintiff’s Pretrial Conference Statement,          May 31, 2018                September 13, 2018
         Trial Brief, and Motions in Limine1
19
         United States’ Pretrial Conference Statement,       May 31, 2018                September 20, 2018
20       Trial Brief, and Motions in Limine
21       Oppositions to Motions in Limine                    June 14, 2018               October 4, 2018
22       Replies Regarding Motions in Limine                 June 21, 2018               October 11, 2018
23
         Final Pretrial Conference                           June 28, 2018               October 18, 2018;
24                                                                                       2:00 p.m.

         Trial (5 days)                                      August 13, 2018             December 3, 2018;
25                                                                                       9:00 a.m.
26

27   1
         The original order contemplates a joint pretrial conference statement. Given the nature of this medical
         malpractice case and the fact that Plaintiff is proceeding pro se, however, it appears separate
28       statements will be more efficient for the Court and the parties.

         STIP AND PROPOSED ORDER TO AMEND PRETRIAL DATES    2
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 1 Pursuant to 28 U.S.C. § 2402, “any action against the United States . . . shall be tried by the court

 2 without a jury.”

 3          The above-stipulated schedule was carefully worked through in light of Plaintiff’s condition and

 4 the United States’ counsel’s 2018 trial schedule. Should the Court be inclined to alter the dates in the

 5 above-proposed schedule, the parties request that the Court convene a status conference or otherwise

 6 permit the parties an opportunity to communicate their limitations to the Court.

 7 Respectfully Submitted

 8 Dated: January 19, 2018                        McGREGOR W. SCOTT
                                                  United States Attorney
 9                                                /s/ Gregory T. Broderick
                                                  GREGORY T. BRODERICK
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11                                                /s/ Daniel Gonzalez (authorized 01/19/2018)
                                                  DANIEL GONZALEZ
12                                                Plaintiff in Pro Per
13

14                                                   ORDER

15
            In accordance with the foregoing stipulation, and good cause appearing, the dates set forth in the
16
     Court’s previous Status Pretrial Scheduling Order (Dkt. No. 37) and Supplemental Pretrial Scheduling
17
     Order (Dkt. No. 43) are amended such that the following schedule shall apply:
18

19
                                         Event                             Proposed Date
20
                    Plaintiff’s Expert Disclosure                       March 22, 2018
21
                    Defendant’s Expert Disclosure                       May 3, 2018
22

23                  Rebuttal Expert Disclosures                         May 17, 2018

24                  Discovery Completed                                 June 14, 2018
25
                    Law and Motion (except to compel discovery)         August 3, 2018
26

27

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      STIP AND PROPOSED ORDER TO AMEND PRETRIAL DATES    3
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 1          The June 28, 2018 Final Pretrial Conference and August 13, 2018 Bench Trial are vacated. The

 2 parties are ordered to file a Joint Notice of Trial Readiness not later than thirty (30) days after receiving

 3 this Court's ruling on the last filed dispositive motion. The parties are to set forth in their Notice of Trial

 4 Readiness, the appropriateness of special procedures, whether this case is related to any other case(s) on

 5 file in the Eastern District of California, the prospect for settlement, their estimated trial length, any

 6 request for a jury, and their availability for trial. After review of the parties' Joint Notice of Trial

 7 Readiness, the Court will issue an order that sets forth new dates for a final pretrial conference and trial.

 8          All other provisions in the Status Pretrial Scheduling Order (Dkt. No. 37) and Supplemental

 9 Pretrial Scheduling Order (Dkt. No. 43) shall remain in effect.

10          IT IS SO ORDERED.

11 Dated: January 29, 2018

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      STIP AND PROPOSED ORDER TO AMEND PRETRIAL DATES      4
